CM/ECF-GA Northern District Court                                  https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?330373850825307-...
                         Case 1:17-cv-02989-AT Document 1395 Filed 06/07/22 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                     1:17-cv-02989-AT
                                             Curling et al v. Raffensperger et al
                                                Honorable Amy Totenberg

                                    Minute Sheet for proceedings held In Chambers on 06/07/2022.


              TIME COURT COMMENCED: 05:15 P.M.
              TIME COURT CONCLUDED: 07:00 P.M.                    COURT REPORTER: Shannon Welch
              TIME IN COURT: 1:45                                 DEPUTY CLERK: Harry Martin
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                 Joshua Belinfante representing The State Election Board
         PRESENT:                    Bruce Brown representing Coalition for Good Governance
                                     Kaye Burwell representing The Fulton County Board of Registration and
                                     Elections
                                     David Cross representing Donna Curling
                                     Carey Miller representing Brad Raffensperger
                                     Adam Sparks representing Donna Curling
                                     Bryan Tyson representing Brad Raffensperger
         PROCEEDING
                                     Telephone Conference(Other Proceeding Non-evidentiary);
         CATEGORY:
         MINUTE TEXT:                See Transcript.
         HEARING STATUS:             Hearing Concluded




1 of 1                                                                                                             6/8/2022, 10:39 AM
